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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                 V.                                     (For Offenses Committed On or After November 1, 1987)
            JOSE JAVIER ANGUIANO-ESTRADA (1)
                                                                           Case Number: 3:19-CR-05247-LAB

                                                                        Jennifer L Coon
                                                                        Defendant’s Attorney
USM Number                       91977-298
    _
☐
THE DEFENDANT:
☒ pleaded guilty to count(s)          One of the Information

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

    Title and Section / Nature of Offense                                                             Count
    8:1326(a), (b) ‐ Attempted Reentry of Removed Alien (Felony)                                      1




    The defendant is sentenced as provided in pages 2 through                     2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s)                                                         is         dismissed on the motion of the United States.

☒ Assessment: $100.00 - waived
        _

☐ JVTA Assessment*: $
  -
        *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                      ☐ Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                        November 2, 2020
                                                                        Date of Imposition of Sentence



                                                                        HON. LARRY ALAN BURNS
                                                                        CHIEF UNITED STATES DISTRICT JUDGE
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  AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

  DEFENDANT:               Jose Javier Anguiano-Estrada (1)                   Judgment - Page 2 of 2
  CASE NUMBER:             3:19-CR-05247-LAB

                                                     PROBATION
The defendant is hereby sentenced to probation for a term of:
five (5) years


                                    SPECIAL CONDITIONS OF SUPERVISION

      Do not enter the United States illegally.

      The defendant must not commit another federal, state or local crime.

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